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 1
     Todd E. Gordinier (SBN 82200)
 2   todd.gordinier@bingham.corn
     Peter N. Villar -(SBN 204038)
 3   peter.yWar@bingham.com
     BINGHANFMcCUTCHEN, LLP
 4   600 Anton Boulevard, 18th Floor
     Costa Mesa, California 92626
 5   Telephone: (714) 830-0600
     Facsimile: (714) 830-0700
 6   Attorneys for Omni 808 Investors, LLC
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 8
                                  UNITED STATES DISTRICT COURT
 9
                              CENTRAL DISTRICT OF CALIFORNIA
10
                                       SOUTHERN DIVISION
11
     CARTER BRYANT, an individual,             Case No. CV 04-9049 DOC (RNBx)
12
                     Plaintiff,                Consolidated with Case No. CV 04-9059
13                                             and Case No. CV 05-2727
                v.
14
     MATTEL, INC., a Delaware                  DECLARATION OF PETER N.
15   corporation,                              VILLAR IN SUPPORT OF JOINT
                                               MOTION FOR INDICATIVE
16                   Defendant.                RULING ON MOTION FOR
                                               AMENDED JUDGMENT TO
17                                             CORRECT CLERICAL MISTAKE
                                               PURSUANT TO FEDERAL RULE OF
18   AND CONSOLIDATED ACTIONS.                 CIVIL PROCEDURE 62.1
19                                             Date: TBD
                                               Time: TBD
20                                             Dept: Courtroom 9D
21                                             Judge: Hon. David 0. Carter
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                                                     VILLAR DECLARATION ISO JOINT MOTION FOR INDICATIVE RULING
                                                                             ON MOTION FOR AMENDED JUDGMENT
                                                                                    CV-04-9049 DOC (RNBx)

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 1             I, Peter N. Villar, hereby declare as follows:
 2             1.    I am an attorney licensed to practice law in the State of California and
 3   a partner at the law firm of Bingham McCutchen LLP, counsel of record for Omni
 4   808 Investors, LLC in the above-captioned matter. I submit this Declaration in
 5   support of the Joint Motion For Indicative Ruling On Motion For Amended
 6   Judgment To Correct Clerical Mistake Pursuant To Federal Rule Of Civil
 7   Procedure 62.1 (the "Joint Motion"). Unless otherwise stated, I have personal
 8   knowledge of the facts set forth below and, if called as a witness, I could and would
 9   testify competently thereto.
10             2.    A copy of this Court's Judgment, redlined to reflect the addition of the
11   parties and claims proposed in the Joint Motion, is attached hereto as Exhibit A.
12             I declare under penalty of perjury under the laws of the United States of
13   America that the foregoing is true and correct and that this declaration was executed
14   on September 21, 2011, in Costa Mesa, California.
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17                                                              Peter N. Villar
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                                                           VILLAR DECLARATION ISO JOINT MOTION FOR INDICATIVE RULING
                                                                                  ON MOTION FOR AMENDED JUDGMENT
                                                                                          CV-04-9049 DOC (RNBx)

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       EXHIBIT A
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Redlined Text of Judgment



Pursuant to the jury's verdict and the Court's orders on the parties' motions for judgment on the

pleadings, summary judgment and judgment as a matter of law, it is ORDERED AND

ADJUDGED as follows:

1. Judgment is entered for MGA Entertainment, Inc. and against Mattel, Inc. on MGA

Entertainment, Inc.'s counterclaim-in-reply for trade secret misappropriation. MGA

Entertainment, Inc. is awarded $85 million in compensatory damages, $85 million in exemplary

damages, $2,172,000 in attorneys' fees, and $350,000 in costs.

2. Judgment is entered for Mattel, Inc. and against MGA Entertainment, Inc. on

MGA Entertainment, Inc.'s claims for common law unfair competition, statutory

unfair competition, trade dress infringement, trade dress dilution, violation of 18

U.S.C. § 1962(c), unjust enrichment, and wrongful injunction.

3. Judgment is entered for MGA Entertainment, Inc., MGA Entertainment (HK) Limited,

MGAE de Mexico S.R.L. de CV, Isaac Larian, Omni 808 Investors, LLC, Carlos Gustavo

Machado Gomez, and IGWT 826 Investments LLC and against Mattel, Inc. and Mattel de

Mexico S.A. de CV on Mattel, Inc. and Mattel de Mexico S.A. de CV's claims for copyright

infringement, intentional interference with contractual relations, trade secret misappropriation,

violation of 18 U.S.C. § 1962(c), violation of 18 U.S.C. § 1964(c). violation of 18 U.S.C. §

1962(d), aiding and abetting breach of fiduciary duty, aiding and abetting breach of duty of

loyalty, breach of contract, breach of fiduciary duty, breach of duty of loyalty, conversion,

violations of Cal. Civ. Code     3439.04(a)(1), 3439.04(0(2), 3439.05, 3439.07, and 3439 08

prohibited distributions under Cal. Corp. Code §§ 501 and 506, breach of constmetive trust,




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unfair competition and declaratory relief. MGA Entertaiment, Inc., MGA Entertainment (HK)

Limited, and Isaac Larian are awarded $105,688,073.00 in attorneys' fees and $31,677,104.00 in

costs.




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 1                                   PROOF OF SERVICE
 2
     I am over eighteen years of age, not al:tarty in this action, and employed in the
 3   County of Orange, California at 600 Anton Boulevard, 18th Floor, Costa Mesa,
     California 9262-6-1924.
 4
     On September 21, 2011, I served the attached:
 5
     DECLARATION OF PETER N. VILLAR IN SUPPORT OF JOINT
 6   MOTION FOR INDICATIVE RULING ON MOTION FOR AMENDED
     JUDGMENT TO CORRECT CLERICAL MISTAKE PURSUANT TO
 7   FEDERAL RULE OF CIVIL PROCEDIJRE 62.1
 8   On each interested party in this action, as follows:
 9
                   (BY ELECTRONIC MAIL) I electronically filed this document
10                 through the Court's CM/ECF systems and all parties who are registered
11                 with the Court's CM/ECF System received a copy by electronic mail.
12
13   I declare under penalty of perjury under the laws of the State of California that the
     foregoing is true and correct and that this declaration was executed on September
14   21, 2011, at Costa Mesa, California.
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17                                                  /s/ Paul A. McConnell
                                                           Paul A. McConnell
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                                                1            JOINT MOTION FOR INDICATIVE RULING ON MOTION FOR
                                                                                          AMENDED JUDGMENT
                                                                                   CV-04-9049 DOC (RNBx)

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